           Case 1:20-cr-10111-RWZ Document 278 Filed 06/24/22 Page 1 of 2




                                                            U.S. Department of Justice

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                                                            District of Massachusetts
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                                                            June 24, 2022

The Honorable Rya W. Zobel
United States District Judge
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02110

                                 Re: United States v. Lieber, 20-CR-10111 (RWZ)

Dear Judge Zobel:

        Yesterday the First Circuit issued a decision holding that it was appropriate for the district
court to apply the plain-error standard in reviewing a new trial motion that raised an unpreserved
claim that the prosecutor committed misconduct in her opening, closing and rebuttal:

          In ruling on the new trial motion, the district court correctly articulated the four-
          prong plain error standard. See United States v. Brandao, 448 F. Supp. 2d 311, 318
          (D. Mass. 2006) (“[I]t is not unprecedented for a trial court to apply the plain error
          standard to an objection raised for the first time in a post-trial motion, because at
          that stage, the court ‘performs something of an appellate role.’” (quoting United
          States v. Washington, 263 F. Supp. 2d 413, 426 n.7 (D. Conn. 2003))), aff’d, 539
          F.3d 44 (1st Cir. 2008). It is efficient for district courts to correct their own plain
          errors if necessary.

United States v. Canty, No. 20-2187, 2022 WL 2255181, at *9 (1st Cir. June 23, 2022).

                                                     Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                               By:   /s/ Donald C. Lockhart
                                                     Donald C. Lockhart
                                                     Jason A. Casey
                                                     James R. Drabick

Dated: June 24, 2022                                 Assistant United States Attorneys
        Case 1:20-cr-10111-RWZ Document 278 Filed 06/24/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE

      I hereby certify that this document was filed on June 24, 2022, through the ECF system,
which will provide electronic notice to counsel as identified on the notice of Electronic Filing.

                                            /s/ Donald C. Lockhart
                                            Donald C. Lockhart
                                            Assistant United States Attorney




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